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              EXHIBIT B
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MURRAY, Sean

From:                              Serina Vash <svash@hermanjones.com>
Sent:                              Monday, March 11, 2024 4:38 PM
To:                                MURRAY, Sean; John Herman; CJ Jones; Candace Smith
Cc:                                SESSIONS, Justina (JKS); MCCALLUM, Robert; Reiser, Craig M.; Yung, Eva H.; Boisvert,
                                   Caroline P.; $US MDL Discovery-Associates
Subject:                           Re: In re Google Digital Advertising Antitrust Litigation, 1:21-md-03010-PKC (S.D.N.Y.)



Counsel:

There is no ambiguity or confusion about what claims remain in the case.
Google must both answer the SAC and provide the necessary discovery in short order.

We met with Google counsel at 10:30 this am and the issues below were not raised by you.
We are available to meet and confer with you to the extent you are seeking an extension of time.

Kind regards,
Serina Vash
        Serina M. Vash
        Herman Jones LLP
        153 Central Avenue #131
        Westfield, New Jersey 07090
        862.250.3930 (mobile)
        404.504.6516 (office)
        svash@hermanjones.com
        www.hermanjones.com



From: MURRAY, Sean <Sean.Murray@freshfields.com>
Sent: Monday, March 11, 2024 11:47 AM
To: Serina Vash <svash@hermanjones.com>; John Herman <jherman@hermanjones.com>; CJ Jones
<cjones@hermanjones.com>; Candace Smith <csmith@hermanjones.com>
Cc: SESSIONS, Justina (JKS) <Justina.Sessions@freshfields.com>; MCCALLUM, Robert <rob.mccallum@freshfields.com>;
Reiser, Craig M. <creiser@axinn.com>; Yung, Eva H. <eyung@axinn.com>; Boisvert, Caroline P. <cboisvert@axinn.com>;
$US MDL Discovery-Associates <$USMDLDiscovery-Associates@freshfields.com>
Subject: In re Google Digital Advertising Antitrust Litigation, 1:21-md-03010-PKC (S.D.N.Y.)

Counsel,

Consistent with the Court’s prior orders following dismissal rulings in the MDL, we would like to agree on and propose to
the Court a process to streamline matters following the Court’s recent dismissal ruling on Google’s motion to dismiss
Inform’s Second Amended Complaint (ECF No. 709). We’d like to avoid any ambiguity or confusion about deadlines and
what claims remain in the case. To that end, we propose the following for Inform.

    1. By Thursday, March 21, Inform will file a conforming amended complaint, which clarifies the narrowed scope of
        Inform’s claims based on Judge Castel’s ruling dismissing certain claims.
    2. To the extent that Inform still intends to advance state-law claims, the parties will enter into a stipulation agreeing
        that state-law claims are deemed dismissed on the basis provided by Judge Castel’s dismissal ruling in ECF No.
        709.
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    3. 15 days following agreement on the stipulation and/or conforming amendments (whichever is later), Google may
         file a letter brief seeking to dismiss Inform’s state-law claims.
    4. Google’s deadline to answer a complaint will be 30 days from the latest of 1. or 2. or, if Google requests leave to
         move to dismiss Inform’s state-law claims, 30 days from resolution of such request or subsequent motion.

We have already corresponded with the other MDL plaintiffs regarding a similar proposal and are filing a related letter with
the Court at 5pm today. As a result, please let us know promptly, and no later than 4pm ET this afternoon, if Inform is
amenable to this proposal. If so, we will draft a proposed stipulation and order outlining the above.

Kind regards,

Sean

Sean Murray
Senior Associate

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